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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 TIFFANY SIMONE EVANS,

                       Plaintiff,

        -against-                                    MEMORANDUM AND ORDER
                                                     Case No. 16-CV-4560 (FB) (VMS)
 METROPOLITAN
 TRANSPORTATION AUTHORITY,
 MANHATTAN AND BRONX
 SURFACE TRANSIT OPERATING
 AUTHORITY, ROBERT
 SHARROCKS, and NEW YORK CITY
 TRANSIT AUTHORITY a/k/a MTA
 NEW YORK CITY TRANSIT,

                        Defendants.
 ------------------------------------------------x
 Appearances
 For the Plaintiff:                              For the Defendants:
 ERIC BAUM, ESQ.                                 STEVEN GERBER, ESQ.
 SAGAR SHAH, ESQ.                                JEREMY M. WEINTRAUB, ESQ.
 Eisenberg & Baum, LLP                           Schoeman Updike Kaufman & Gerber LLP
 24 Union Square East, Fourth Floor              551 Fifth Avenue, Suite 1200
 New York, New York 10003                        New York, New York 10176

 BLOCK, Senior District Judge:

        After a four-day trial, the jury in this action found Robert Sharrocks and the

 New York City Transit Authority (“NYCTA”) liable to Tiffany Evans for sex

 discrimination. It awarded $100,000 in lost wages, $25,000 in non-economic

 damages, and $7,500 in punitive damages.



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       In a prior memorandum and order, the Court granted the defendants’ motion

 for judgment as a matter of law on Evans’s claim for lost wages, but otherwise

 denied their post-trial motions. It now turns to Evans’s post-trial motions.

       First, Evans moves for attorney’s fees and costs. The Court follows its usual

 practice of deferring considering of such motions until the appellate process has run

 its course.

       Second, Evans moves for equitable relief, seeking either front pay or “a

 monitored opportunity to re-take the 10-day training course.” Pl.’s Mem. of Law 7.

 Her request for front pay is denied for the same reason the Court set aside the jury’s

 award of past lost wages: While Evans testified as to her understanding of the hourly

 wage of an NYCTA bus driver and her hourly wage at her current job, she failed to

 offer any evidence of the hours worked. As a result, there is no basis on which to

 calculate total earnings.

       Evans’s alternative request to re-take the training course is analogous to

 reinstatement, which is the preferred remedy in employment discrimination cases.

 See Reiter v. MTA New York City Transit Auth., 457 F.3d 224, 230 (2d Cir. 2006)

 (“Under Title VII, the best choice is to reinstate the plaintiff, because this

 accomplishes the dual goals of providing make-whole relief for a prevailing plaintiff



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 and deterring future unlawful conduct.”). Reinstatement is not appropriate “where

 there is animosity between an employer and an employee or where there is no longer

 a position available at the time of judgment,” Bergerson v. New York State Office of

 Mental Health, 652 F.3d 277, 288 (2d Cir. 2011), but neither circumstance is present

 here.

         Instead, the defendants argue that Evans should not be reinstated because she

 did not successfully complete the training. See Bank v. Travelers Cos., 180 F.3d

 358, 365 (2d Cir. 1999) (“[Reinstatement and front pay] are inappropriate where the

 employment term would already have ended by the time of judgment.”). They argue

 that the jury’s finding of no retaliation “severs a[ny] causal connection between the

 discrimination and the plaintiff’s failure to obtain a particular job.” Defs.’ Mem. of

 Law 4.

         The Court agrees that the jury’s verdict is binding as to issues of fact common

 to both legal and equitable relief. See Wade v. Orange Cty. Sheriff’s Office, 844

 F.2d 951, 954 (2d Cir. 1988) (“[W]hen the jury has decided a factual issue, its

 determination has the effect of precluding the court from deciding the same fact issue

 in a different way.”). But it disagrees that the jury found no causal connection

 between Sharrocks’s misconduct and Evans’s poor performance with other trainers.

 To the contrary, despite finding that those trainers did not act with any retaliatory



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 motive, the jury awarded past lost wages as damages for sex discrimination.

 Although the Court set aside the award because it was not supported by adequate

 evidence as to the amount of lost wages, the jury’s implicit finding that Sharrocks’s

 conduct caused Evans to fail the training was adequately supported by the testimony

 of one of the trainers that Evans was emotional during his portion of the training,

 and Evans’s own testimony that she was emotional on the last day of training

 because she had just filed her written complaint. Thus, the jury could reasonably

 conclude that Evans’s experience with Sharrocks had contributed to her poor

 performance.

       The defendants further argue reinstatement poses a threat to public safety. But

 Evans is not asking to be made a bus driver; she is asking for another opportunity to

 take the training.

       There is, in sum, no just reason to deny the “preferred remedy” of

 reinstatement. However, Evans’s request that her training be “monitored” is vague

 and possibly unnecessary. In addition, the Court is not inclined to require the Transit

 Authority to offer the training on a special schedule or to make other

 accommodations. Evans is entitled to training free of discrimination, but otherwise

 the same training that any other applicant would receive.




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       Accordingly, the parties shall confer in good faith regarding the details of

 Evans’s request. Within fourteen days of this memorandum and order, they shall

 submit a joint letter setting out (1) any agreed-to details and (2) each party’s position

 on any areas of disagreement.

       SO ORDERED.


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                                                 /S/ Frederic Block
                                                FREDERIC BLOCK
                                                Senior United States District Judge
 Brooklyn, New York
 September 27, 2018




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